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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                             OAKLAND DIVISION



 LARRY GOLDEN,                             )                  Case No. 4:22-cv-05246-HSG
                                           )
    Plaintiff,                             )                  OPPOSITION TO PLAINTIFF’S MOTION
                                           )                  FOR LEAVE TO FILE SURREPLY BY
 v.                                        )                  DEFENDANT GOOGLE LLC
                                           )
 GOOGLE LLC,                               )                  Judge:      Hon. Haywood S. Gilliam, Jr.
                                           )
    Defendant.                             )
 _________________________________________ )




                                                                                   Case No. 4:22-cv-05246-HSG
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                                               INTRODUCTION
          Google moved to dismiss plaintiff’s amended complaint; plaintiff opposed, and Google replied.

 Plaintiff then sought leave to file a surreply, Docket No. 48, and filed a proposed surreply, Docket No.

 49. Plaintiff’s motion for leave is improper, and his proposed surreply would add nothing to the briefing

 already before the Court. The Court should deny this motion.

                                                  ARGUMENT
 I.       The Motion Violates the Court’s Order Limiting Plaintiff’s Filings
          On August 10, 2023, “in light of the number and length of Plaintiff’s filings that have not

 complied with this District’s Local Rules,” this Court ordered that “unless and until otherwise ordered,

 Plaintiff may not file any document other than the amended complaint discussed above without advance

 leave of Court.” Docket No. 41 at 8:6-9. The Court’s August 10 order responded to plaintiff’s “failure

 to comply with Civil L.R. 7-3 (directing that, with limited exceptions, ‘[o]nce a reply is filed, no

 additional memoranda, papers or letters may be filed without prior Court approval’).” Id. at 8:1-5.

 Plaintiff has again failed to comply with Civil L.R. 7-3 and this Court’s order of August 10.

 II.      The Motion is Improper Under the Local Rules of This Court
          Plaintiff’s motion fails to follow the Local Rules. It violates Civil L.R. 7-3(d) by “attaching his

 sur-reply without prior approval of the Court,” Wescott v. Stephens, No. 17-5837, 2018 WL 1730327,

 at *2 n.2 (N.D. Cal. Apr. 10, 2018), and violates Civil L.R. 7-11(a) by failing to include “either a

 stipulation under Civil L.R. 7-12 or by a declaration that explains why a stipulation could not be

 obtained.” Civil L.R. 7-11(a).

 III.     The Proposed Surreply Neither Raises Nor Responds to Anything New
          The motion and attached proposed surreply fail to show that “new evidence has been submitted

 in the reply or a relevant judicial opinion was published after the date the opposition or reply was filed.”

 Willis v. Taylor, No. 22-3427, 2023 WL 4410937, at *3 (N.D. Cal. July 7, 2023). Plaintiff’s motion

 states that Google’s reply “raises arguments not previously presented in the Motion to Dismiss,” but

 identifies none. Docket No. 48 at 2. And for good reason: Google’s reply simply restated the

 arguments in its motion, and responded to the points in plaintiff’s opposition. Compare Docket No. 44

 with Docket No. 47. The Court can easily find that no “new evidence has been submitted in the reply,”

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 Willis, 2023 WL 4410937, at *3, because the reply contains no evidence at all, as is appropriate on a

 motion to dismiss, and cites only case law predating the opposition, as well as plaintiff’s amended

 complaint, and the documents cited within it.1 Google’s reply “did not submit new evidence, and

 Plaintiff’s proposed sur-reply did not reference a newly published relevant judicial opinion.” Willis,

 2023 WL 4410937, at *3; see Ortega v. Flores, No. 19-319, 2023 WL 4771178, at *6 (N.D. Cal. July 26,

 2023) (same); see also, e.g., Garcia v. Biter, 195 F. Supp. 3d 1132, 1134 (E.D. Cal. 2016) (while “courts

 are required to afford pro se litigants additional leniency,” that leniency “does not extend to permitting

 surreplies as a matter of course and the Court is not generally inclined to permit surreplies absent an

 articulation of good cause why such leave should be granted.”) (emphasis in original). The Court should

 deny plaintiff’s motion.

                                                 CONCLUSION
          For the foregoing reasons, the Court should deny plaintiff’s motion for leave to file a surreply.
 Date: October 10, 2023                               Respectfully submitted,


                                                      _______________________________________
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          Should the Court be inclined to review the proposed surreply for any indication that “new
          1

 evidence has been submitted in the reply or a relevant judicial opinion was published after the date the
 opposition or reply was filed,” it will find none. Willis, 2023 WL 4410937, at *3. The proposed
 surreply includes text copied and pasted from plaintiff’s previous filings (e.g., Docket No. 49 at 4-6) as
 well as preexisting cases that plaintiff has not previously argued (e.g., id. at 2 (citing Syngenta Crop
 Protection, LLC v. Willowood, LLC, 944 F.3d 1344 (Fed. Cir. 2019)). Finally, the proposed surreply
 briefly claims that “Google admits to the use of the various means of CBRNE detection,” Docket No. 49
 at 3 (emphasis in original), but the claimed ‘admissions’ merely quote the allegations of plaintiff’s
 amended complaint, “which the Court must accept as true at the pleading stage.” Williams-Sonoma, Inc.
 v. Amazon.com, Inc., 627 F. Supp. 3d 1072, 1075 (N.D. Cal. 2020) (citing Retail Prop. Tr. v. United Bhd.
 of Carpenters & Joiners of Am., 768 F.3d 938, 945 (9th Cir. 2014)).
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